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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 DR. KUSUMA NIO, et al.

                Plaintiffs,

                         v.
                                                   Civil Action No.17-00998-ESH-RMM
 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY, et al.,

                Defendants.



         DEFENDANTS’ OPPOSED REQUEST TO FILE PORTIONS OF THE SIX-
       WEEK REPORT EX PARTE, FOR REVIEW IN CAMERA, AND FOR THE
      REMAINDER TO BE DEEMED COVERED BY THE PROTECTIVE ORDER
                             (ECF No. 123).

       Consistent with the relief sought by the government in Calixto v. Army, No. 18-cv-1551,

(ECF No. 25), and pursuant to Local Civil Rule 5.1(h), Defendants respectfully move this Court

for an Order granting leave to submit portions of the September 13, 2018 six-week report ex

parte, for in camera review, and for the remainder (and any drafts) to be deemed covered by the

existing protective order (ECF No. 123) as an interim measure until the Court can decide this

issue on or after the October 3, 2018 hearing. Pursuant to Local Civil Rule 7(m), undersigned

counsel contacted counsel for Plaintiffs via email at 3:30pm on Tuesday, September 11, to

determine whether Plaintiffs oppose either part of Defendants’ motion. After brief email

correspondence between the parties, Plaintiffs indicated they oppose Defendants’ motion. A

proposed order is also submitted herewith. In support of this motion, Defendants state the

following:

       1.      On August 15, 2018, the Court ordered Defendants to include the following

additional information in the six-week report:
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       1) for each class member whose MSSD has been completed, the defendants shall
       report whether those results were favorable or unfavorable, and
       2) for each class member who has been issued a discharge order from the U.S.
       Army Recruiting Command (USAREC) and/or U.S. Army Reserve Command
       (USARC), defendants shall report the effective date of their discharge order(s)
       and if their discharge order(s) have been or will be revoked.

See August 15, 2018 Minute Order.

       2.      In Calixto, on August 13, 2018, following a conference call with the parties, the

Court ordered, inter alia, that:

       [D]efendants shall file under seal, on or before September 4, 2018, at 12 p.m., a
       list of every person who has received a discharge order from the U.S. Army
       Recruiting Command (USAREC) and/or U.S. Army Reserve Command
       (USARC) that was effective within the year prior to the July 20, 2018
       memorandum (July 20, 2017 through July 20, 2018) who were DTP or DEP
       MAVNI members and whose discharge order(s) are not expected to be revoked.
       This report shall specify whether each person’s discharge was due to an
       unfavorable MSSD determination or some other reason, and if some other reason,
       what that reason was. . . .

See Calixto, 18-cv-1551, ECF No. 23.

       3.      On August 31, 2018, Defendants in Calixto sought clarification of the Court’s

order and “requested further guidance from the Court to clarify (1) if the Court contemplates that

Defendants share the information with Plaintiffs’ counsel; and (2) if the information is shared

with Plaintiffs’ counsel, what, if any, limitations will be placed on Plaintiffs’ counsels’ use of the

information.” Calixto, ECF No. 25.

       4.      Additionally, on September 5, 2018, Defendants in this case moved the Court to

expand the existing protective order in this case (ECF No. 123) to protect from disclosure the

information contained in Defendants’ six-week reports and other similar reports containing

sensitive confidential information. See ECF No. 180.

       5.      On September 5, 2018, the Court ordered a hearing regarding the pending motions

in the following three matters for Wednesday, October 3, 2018 at 2:30 p.m.: Nio v. United States

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Department of Homeland Security, No. 1:17-cv-00998-ESH-RMM; Calixto v. United States

Department of the Army, No. 1:18-cv-01551-ESH; and Kirwa v. United States Department of

Defense, No. 1:17-cv-01793-ESH-RMM. See September 5, 2018, Minute Order.

       6.      Accordingly, consistent with the relief sought by the government in Calixto (ECF

No. 25), Defendants request an Order granting leave to submit portions of the September 13,

2018 six-week report – specifically the additions to the six-week report ordered by the Court in

its August 15, 2018, Minute Order – ex parte, for in camera review, until the Court rules on the

pending motions in these related cases.

       7.      Additionally, Defendants request the Court to temporarily expand the protective

order in this case (ECF No. 123) for the purposes of protecting from disclosure the information

released to Plaintiffs on September 13, 2018 (and any drafts) – which contains confidential

information – until the Court rules on the pending motions in these related cases. Thus,

Defendants request that this Court expand – at least as a limited interim measure – the previously

ordered protective order (ECF No. 123) to include the portions of the September 13, 2018 report

(and subsequent reports) made by Defendants which are not filed on the public docket. These

portions should be considered as “protected material” within the meaning of ECF No. 123 in

order to prevent the disclosure of information contained in the un-redacted versions of any of the

reporting.

       8.      The motions are currently set for a hearing on Wednesday, October 3, 2018 at

2:30 p.m.




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DATED: September 12, 2018         Respectfully submitted,

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                                  Assistant Attorney General
                                  Civil Division

                                  WILLIAM C. PEACHEY
                                  Director, Office of Immigration Litigation

                                  COLIN A. KISOR
                                  Deputy Director

                                  /s/ Elianis N. Perez
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                Plaintiffs,

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                                                     Civil Action No.17-00998-ESH-RMM
 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY, et al.,

                Defendants.



            [PROPOSED] ORDER GRANTING DEFENDANTS’ REQUEST TO FILE
                PORTIONS OF THE SIX-WEEK REPORT IN CAMERA

       Upon consideration of the Motion for Defendants to file portions of the six-week report

in camera, and for good cause shown, it is hereby ORDERED that the motion is GRANTED.

Specifically Defendants shall file the additions to the six-week report ordered by the Court in its

August 15, 2018, Minute Order – ex parte, for in camera review, until such time as the Court

rules on the pending motions in these three related cases. See September 5, 2018, Minute Order.

       Additionally, Defendants’ Motion to temporarily expand the Protective Order (ECF No.

123) is hereby GRANTED. It is ORDERED that Plaintiffs’ counsel may disclose the non-public

information contained in Defendants’ September 13, 2018 six-week report (and any drafts) only

in accordance with the provisions of the Protective Order (ECF No. 123).


Dated: ________________                                      ______________________________
                                                             ELLEN S. HUVELLE
                                                             United States District Judge




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